                Case 19-12220-KBO              Doc 112        Filed 12/05/19        Page 1 of 32



                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

YUETING JIA,1                                                 Case No. 19-12220 (KBO)

                                    Debtor.                  Related Docket No. 89
                                                         Objection Deadline: December 5, 2019 at 4:00 p.m. (ET)
                                                            Hearing Date: December 18, 2019 at 10:00 a.m. (ET)


              DEBTOR’S OPPOSITION TO SHANGHAI LAN CAI ASSET
             MANAGEMENT CO, LTD.’S MOTION (I) TO DISMISS THE
            DEBTOR’S CHAPTER 11 CASE OR, ALTERNATIVELY, (II) TO
          TRANSFER VENUE TO THE CENTRAL DISTRICT OF CALIFORNIA


                  Yueting Jia, the debtor and debtor in possession (the “Debtor” or “YT”) in the

above-captioned chapter 11 case (the “Chapter 11 Case”), hereby files his opposition

(“Opposition”) to Shanghai Lan Cai Asset Management Co, Ltd.’s Motion (I) to Dismiss the

Debtor’s Chapter 11 Case or, Alternatively, (II) to Transfer Venue to the Central District of

California [Docket No. 89] (the “Motion”), and in support thereof states as follows:

                                                   Introduction


                  1.         YT’s Chapter 11 Case is focused on the restructuring of over $3.5 billion

in debt, the overwhelming majority of which arose from obligations he guaranteed to support his

businesses, including Faraday Future (“Faraday”),2 a global technology company engaged in the

development of next-generation mobility ecosystems. To that end, he is pursuing court approval

of a plan of reorganization (“Plan”) that will allow him both to address creditors’ claims and

1
  The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, California 90275.
2
  See https://www.ff.com/


DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO            Doc 112      Filed 12/05/19     Page 2 of 32




eliminate uncertainty about the ownership of Faraday with the goal of placing the company in a

stronger position to obtain financing for future competitive and strategic initiatives.

                 2.          Since the commencement of his Chapter 11 Case seven weeks ago, among

other actions, the Debtor has:
                             a.    Prepared and filed a Plan, Disclosure Statement and Amended
                                   Disclosure Statement;

                             b.    Filed his Schedules of Assets and Liabilities and Statement of
                                   Financial Affairs;

                             c.    Sought authorization to employ general bankruptcy counsel and
                                   special corporate, litigation and international counsel;

                             d.    Moved for approval to retain a chief restructuring officer;

                             e.    Met with representatives of the Office of the United States Trustee
                                   at his initial debtor interview and participated in the formation
                                   meeting of the Official Committee of Unsecured Creditors (the
                                   “Committee”);

                             f.    Established and continues to populate a data room containing
                                   documents requested by the Committee;

                             g.    Conducted an all-day meeting at Faraday with Faraday’s
                                   management, thirteen Committee members, creditor
                                   representatives, and Committee professionals in order to provide
                                   an overview of Faraday’s business operations and financial
                                   condition, and to discuss the Plan; and

                             h.    Invited representatives of all creditors (nearly all of whom traveled
                                   from the People’s Republic of China) to Faraday for a separate,
                                   full day of meetings that included comprehensive presentations
                                   regarding Faraday’s business operations and financial condition
                                   and sessions allowing creditors to ask questions and voice
                                   concerns regarding the Debtor’s proposed restructuring. Thirty-
                                   five creditor representatives and two representatives of the
                                   Committee participated in this meeting.

                 3.          Against this backdrop, Shanghai Lan Cai Asset Management Co. (“SLC”),

a lone creditor––alleging one of the smallest debts against YT (around $11 million)––seeks to


                                                 2
DOCS_LA:326345.6 46353/002
                  Case 19-12220-KBO             Doc 112     Filed 12/05/19   Page 3 of 32




dismiss the Chapter 11 Case or, alternatively, to transfer it to the state of California where its

attorneys maintain an office.3

                    4.       As described in the Debtor’s Statement Regarding Shanghai Lan Cai

Asset Management Co, Ltd.’s Response to the Debtor’s Chapter 11 Filing [Docket No. 66], prior

to the commencement of the Chapter 11 Case, SLC sought to use its relatively small debt to seize

control of YT’s assets, including his indirect interests in Faraday, solely for its own benefit: SLC

purported to serve on the Debtor an order requiring the Debtor to appear for a judgment debtor

examination that, under California law, may result in a lien on the Debtor’s personal property.

See Cal. Civ Proc. Code § 708.110(d). In order to preserve his assets for the benefit of all of his

creditors––not just SLC––YT commenced this Chapter 11 Case.

                    5.       SLC’s Motion, which is largely based on excerpted media statements and

replete with inaccurate and inflammatory statements, belies SLC’s true purpose: to seek

dismissal of this Chapter 11 Case so that it may seize YT’s assets for itself and obtain full

repayment of its relatively small debt through a “fire sale” that would destroy the value of

Faraday at the expense of all other creditors. YT vigorously opposes SLC’s efforts to derail his

reorganization and continues to diligently prosecute his restructuring for the benefit of all

creditors of his bankruptcy estate.

                                                    Background


                    6.       On October 14, 2019 (the “Petition Date”), the Debtor commenced his

Chapter 11 Case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy


3
    See https://kobrekim.com/locations/san-francisco.

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DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19    Page 4 of 32




Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”). The Debtor has continued in

possession of his property and manages his affairs as a debtor in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

                 7.          On October 25, 2019, the Office of the United States Trustee appointed

the Committee in this Chapter 11 Case.

                 8.          The factual background regarding the Debtor, including the events

precipitating his chapter 11 filing, is set forth in detail in Omnibus Declaration of Yueting Jia in

Support of Various Requests for Relief [Docket No. 19].

                                                 Discussion

A.      The Debtor’s Case Was Properly Filed in This District Because the Debtor’s
        Principal Assets Are His Interests in Two Delaware LLCs

                 9.          Venue of a chapter 11 case is governed by 28 U.S.C. § 1408, which

provides, in relevant part, as follows:

        Except as provided in section 1410 of this title, a case under title 11 may be
        commenced in the district court for the district—

                 (1) in which the domicile, residence, principal place of business in the
                 United States, or principal assets in the United States, of the person or
                 entity that is the subject of such case have been located for the one
                 hundred and eighty days immediately preceding such commencement,
                 or for a longer portion of such one-hundred-and-eighty-day period than
                 the domicile, residence, or principal place of business, in the United
                 States, or principal assets in the United States, of such person were
                 located in any other district;

28 U.S.C. § 1408 (1) (emphasis added).

                 10.         Section 1408 is phrased in the disjunctive. A debtor need only meet one

of the four venue tests (domicile, residence, principal place of business in the United States, or

principal assets in the United States). See Broady v. Harvey (in re Broady), 247 B.R. 470, 472

                                                  4
DOCS_LA:326345.6 46353/002
                Case 19-12220-KBO              Doc 112        Filed 12/05/19        Page 5 of 32




(BAP 8th Cir. 2000) (citing In re Gurley, 215 B.R. 703, 707–08 (Bankr. W.D. Tenn. 1997)); In

re Miller, 433 B.R. 205, 211 (Bankr. W.D. Mich. 2010). “‘[T]he statute allows many possible

locations where an entity or individual may file for bankruptcy protection.’” See 1 Collier on

Bankruptcy ¶ 4.02[2][a] (16th ed. 2019) (quoting Miller, 433 B.R. at 211). Thus, for example, if

a debtor has its principal place of business in one district and its principal assets in another, either

district would be a proper venue. See id. See also Commonwealth of Puerto Rico v.

Commonwealth Oil Refining Co. (In re Commonwealth Oil Refining Co.), 596 F.2d 1239, 1245

(5th Cir. 1979) (“CORCO”) (interpreting former Bankruptcy Rule 116 to have made it clear that

“a debtor’s principal place of business is not necessarily at the same location as its principal

assets,” and that chapter 11 venue would properly lie in either place); In re Dunmore Homes,

Inc., 380 B.R. 663, 670 (Bankr. S.D.N.Y. 2008) (Section 1408 “is written in the disjunctive

making venue proper in any of the listed locations.”); In re Peachtree Lane Assocs., 206 B.R.

913, 917 (N.D. Ill. 1997) (stating with respect to venue under 28 U.S.C. § 1408, “[s]ince the test

is in the alternative, venue may properly lie in more than one district.”). “As a result, a debtor

may select from any one of the five options in selecting a venue for his bankruptcy filing.” In re

Acor, 510 B.R. 588, 591 (Bankr. W.D. Tenn. 2014)(including a fifth venue option arising from

section 1408(2): “‘the pendency of a bankruptcy case concerning the debtor's affiliate, general

partner or partnership.’” (quoting In re FRG, Inc., 107 B.R. 461, 468 (Bankr.S.D.N.Y.1989)).4

                  11.        For purposes of establishing venue based on the location of a debtor’s

principal assets, the inquiry boils down to a “simple determination” of where the greater dollar


4
 Additionally, a debtor’s choice of venue should be given deference by courts, as discussed in detail in section D
below.

                                                     5
DOCS_LA:326345.6 46353/002
                Case 19-12220-KBO              Doc 112       Filed 12/05/19         Page 6 of 32




value of the debtor’s U.S. assets are located. See e.g., Frank v. Neufeld (In re Neufeld), 2012

Bankr. LEXIS 5430, *4 (Bankr. M.D. Pa. Nov. 16, 2012) (“Although the term ‘principal asset’ is

not defined by the Bankruptcy Code for venue purposes under 28 U.S.C. § 1408, the term

‘principal’ refers to an item of the first, highest or foremost in importance, rank, worth, or

degree. Therefore, the analysis required is a simple determination of where the greater dollar

value of all property of the estate is located.”).

                  12.        The Debtor here is an individual whose principal asset in the U.S. is his

interest in Pacific Technology Holding LLC (“Pacific Technology”), a portion of which is held

through West Coast LLC (“West Coast” and, together with Pacific Technology, the “LLCs”).

Pacific Technology was formed on July 26, 2018, and West Coast has existed on July 31, 2019.5

The Debtor’s current interests in the LLCs are valued at approximately $320 million and $862

million,6 respectively, and, as reflected in the Schedules, are the Debtor’s material U.S. assets.7

5
  True and correct copies of the Certificates of Formation for Pacific Technology and West Coast are attached hereto
as Exhibits “A” and “B,” respectively. Contrary to SLC’s assertions in the Motion, proper venue of the Debtor’s
bankruptcy case in Delaware is not solely based on the Debtor’s interests in West Coast, but also on his interests in
Pacific Technology, a Delaware entity that was in existence as of July 2018––well prior to the 180 days preceding
the commencement of the Debtor’s Chapter 11 Case in this Court. The case law cited by SLC in the Motion (¶ 27)
for the proposition that the Debtor “manufactured” venue on the eve of commencing the Chapter 11 Case is,
therefore, inapposite and clearly distinguishable. See, e.g., In re Columbia Western, Inc., 183 B.R. 660, 661 (Bankr.
D. Mass. 1995) (where a debtor conducted business in Oregon, its assets and many creditors were in Oregon, and an
affiliate’s case was pending in Oregon, the transfer of $10.7 million to a Massachusetts bank and execution of an
unnecessary month-to-month lease of empty office space in Massachusetts two days prior to filing was insufficient
to establish proper venue in Massachusetts). SLC’s assumption that venue is improper based on the formation date
of West Coast is factually erroneous. Pacific Technology was formed well outside the 180 days referenced in the
venue statute.

6
  The values of the Debtor’s interests in Pacific Technologies and West Coast are set forth in the Debtor’s Schedules
of Assets and Liabilities filed with the Court on October 17, 2019 [Docket No. 28] (the “Schedules”), and are based
on the valuation of Smart King Ltd. (“Smart King”) following a December 21, 2018, Restructuring Agreement with
Evergrande Health Industry. West Coast holds a 6.16% interest in Smart King and Pacific Technology holds a 10%
interest in Smart King.

7
  As reflected in the Schedules, with the exception of $2.1 million in prepaid rent and de minimis cash in deposit
accounts at Wells Fargo Bank and Bank of America (totaling approximately $67,000), the Debtor’s other assets are
non-U.S. assets located in the People Republic of China (“PRC”). The Debtor’s assets located in the PRC have been
frozen. The Chapter 11 Case was commenced to implement a restructuring of the Debtor’s U.S. assets and, as
discussed below, is the appropriate forum in which to accomplish this legitimate purpose.

                                                     6
DOCS_LA:326345.6 46353/002
                Case 19-12220-KBO               Doc 112       Filed 12/05/19         Page 7 of 32




The Debtor’s interests in the LLCs, therefore, constitute his principal assets for purposes of

venue under section 1408.

                  13.        For purposes of determining the location of principal assets as part of a

venue determination, the location of a debtor’s membership interests in a limited liability

company is the state in which such limited liability company is registered which, with respect to

the LLCs, is Delaware. See e.g., Montana Dep’t of Revenue v. Blixseth (In re Blixseth), 484 B.R.

360, 370-71 (BAP 9th Cir. 2012) (holding that, for venue purposes, a debtor’s principal assets

consisting of intangible equity interests in a limited liability company and limited liability

limited partnership were located in the state where they were formed, not in the state of the

debtor’s residence). See also In re Global Ocean Carriers Ltd., 251 B.R. 31, 37 (Bankr. D. Del.

2000) (the owner of stock in a corporation incorporated in Delaware has property in Delaware

for purposes of satisfying section 109(a) of the Bankruptcy Code).8 Accord, In re Silicon Valley

Innovation Co., 2012 Bankr. LEXIS 4034 (Bankr. N.D. Cal. Aug. 30, 2012) (stock of

corporation located in state of incorporation, not state where it had its headquarters).




8
  Global Ocean concerned the issue of whether Global Ocean, the debtor, was eligible to file a case under section
109(a) of the Bankruptcy Code. Section 109(a) provides that “[n]otwithstanding any other provision of this section,
only a person that resides or has a domicile, a place of business, or property in the United States, or a municipality,
may be a debtor under this title.” 11 U.S.C. § 109. The “property” referred to in section 109(a) constitutes
“principal assets” under 28 U.S.C. § 1408. See Committee on Structured Finance and the Committee on Bankruptcy
and & Corporate Reorganization of the Association of the Bar of the City of New York, Special Report on the
Preparation of Substantive Consolidation Opinions, 64 Bus. Law. 411, 418–19 (2009) (citing to both 11 U.S.C. §
109(a) and 28 U.S.C. § 1408 for the rule that “[a]n entity may be a debtor under U.S. bankruptcy law if it has its
domicile, a place of business, or assets in the United States.”). Therefore, notwithstanding the court’s determination
in the context of section 109(a), the Global Ocean holding is applicable to determining whether venue is proper
under 28 U.S.C. § 1408.

                                                      7
DOCS_LA:326345.6 46353/002
                  Case 19-12220-KBO                Doc 112        Filed 12/05/19          Page 8 of 32




                    14.      The Debtor’s interests in the LLCs are his principal U.S. assets and these

assets are located in the state in which the LLCs are registered––the State of Delaware.

Consequently, venue of the Chapter 11 Case is proper in Delaware under 28 U.S.C. § 1408.

B.         Because Delaware Is a Proper Venue, SLC’s Argument for Dismissal of the
           Debtor’s Bankruptcy Case Based on “Improper Venue” Fails as a Matter of Law

                    15.      SLC argues that the Chapter 11 Case must be dismissed pursuant to 28

U.S.C. § 1406(a)9 and Rule 1014(a)(2) of the Federal Rules of Bankruptcy Procedure

(“FRBP”)10 as a result of the Debtor’s case being filed “improperly” in this Court. Because

venue of the Debtor’s case in Delaware is proper, SLC’s argument for dismissal on this ground

is misplaced.

                    16.      Both 28 U.S.C. § 1406(a) and FRBP 1014(a)(2) allow a court to either

dismiss or transfer an improperly venued case. Dismissal, however, is only an appropriate

remedy where a petition is filed in an improper venue. Where a bankruptcy case is filed in a




9
  Section 1406(a) (entitled “Cure or waiver of defects”) provides as follows: “The district court of a district in which
is filed a case laying venue in the wrong division or district shall dismiss, or if it be in the interest of justice, transfer
such case to any district or division in which it could have been brought.” 28 U.S.C. § 1406(a).
10
     Rule 1014(a)(2) of the Federal Rules of Bankruptcy Procedure provides as follows:

           (a) Dismissal and Transfer of Cases.

                    (1) Cases Filed in Proper District. If a petition is filed in a proper district, on timely
                    motion of a party in interest, and after hearing on notice to the petitioners, the United
                    States trustee, and other entities as directed by the court, the case may be transferred to
                    any other district if the court determines that the transfer is in the interest of justice or
                    for the convenience of the parties.

                    (2) Cases Filed in Improper District. If a petition is filed in an improper district, on
                    timely motion of a party in interest and after hearing on notice to the petitioners, the
                    United States trustee, and other entities as directed by the court, the case may be
                    dismissed or transferred to any other district if the court determines that transfer is in
                    the interest of justice or for the convenience of the parties.
Fed. R. Bankr. P. 1014(a).

                                                         8
DOCS_LA:326345.6 46353/002
                Case 19-12220-KBO              Doc 112       Filed 12/05/19         Page 9 of 32




proper venue (as is the case here), the relevant inquiry is only whether the Court should retain or

transfer the case because venue is proper––the issue is not whether to dismiss or transfer

because venue is improper. See Acor, 510 B.R. at 594; In re Campbell, 242 B.R. 740, 748

(Bankr. M.D. Fla. 1999). As set forth by the Acor court:

                          Because the Court has concluded that venue of this case is proper . . .
                  pursuant to 28 U.S.C. § 1408, it is unnecessary for the Court to address the
                  Movants’ alternative to motion to dismiss the case. Federal Rule of Bankruptcy
                  Procedure 1014(a)(2) only allows for dismissal of a case “[i]f a petition is filed in
                  an improper district . . . .” Fed. R. Bankr. P. 1014(a)(2) (emphasis added); In re
                  Campbell, 242 B.R. 740, 748 (Bankr. M.D. Fla. 1999) (determining that because
                  the ‘Court finds venue in this district is proper, . . . the issue becomes whether to
                  retain or transfer because venue is proper, rather than whether to dismiss or to
                  transfer because venue is improper.


Acor, 510 B.R. at 594.11

                  17.        Because venue in this Court is proper, SLC’s demand that this Court

dismiss the Chapter 11 Case on the grounds of improper venue must be denied.12

C.       SLC Fails to Establish That Cause Exists to Dismiss the Chapter 11 Case Pursuant
         to Section 1112(b) or Section 305(a)(1) of the Bankruptcy Code

                  18.        In addition to claiming that this Court should dismiss the Chapter 11 Case

based on its unfounded allegations of improper venue, SLC asserts that the Court should dismiss

the case under section 1112(b) of the Bankruptcy Code because the Debtor’s petition was filed in

“bad faith.” Pointing to the same alleged “grounds,” SLC also asserts that the case should be


11
  None of the cases cited by SLC in the Motion (¶¶ 27-28) is to the contrary because these decisions uniformly
address dismissal as a remedy for an improperly venued case and are therefore inapplicable here. See e.g.,
Columbia Western, 183 B.R. 660 (transfer or dismissal as a remedy for improper venue); In re Sorrells, 218 B.R.
580, 586 (BAP 10th Cir. 1998) (same); In re Deabel, Inc., 193 B.R. 739 (Bankr. E.D. Pa. 1996) (same); In re Hall,
Bayoutree Assoc., Ltd., 939 F.2d 802, 806 (9th Cir. 1991) (same).

12
  Moreover, as discussed in detail below, SLC’s alternative request that this Court transfer venue to a bankruptcy
court in California is likewise without basis and should be denied.

                                                     9
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO            Doc 112     Filed 12/05/19     Page 10 of 32




dismissed under section 305(a)(1) of the Bankruptcy Code because the interests of creditors and

the Debtor would be better served by dismissal. Both are extraordinary forms of relief, and SLC

has failed to meet its considerable burden to demonstrate that dismissal under either section of

the Bankruptcy Code is warranted.

                 19.         As discussed herein, the Debtor had a valid bankruptcy purpose for filing

his Chapter 11 Case––reorganizing his financial affairs to provide for the restructuring of over

$3.5 billion in creditor claims. The case was not, contrary to SLC’s assertions, commenced as a

litigation tactic or to prejudice creditors’ rights. To the contrary, had the Debtor not filed the

Chapter 11 Case, SLC would have sought to enforce its lien and seize the Debtor’s assets in

order to repay its relatively small debt, and in the process destroy any value available for other

creditors.

                 20.         Instead, the Debtor commenced his bankruptcy case after considering the

best interests of all parties. SLC is not the only party in interest in this Chapter 11 Case. There

are numerous creditors holding billions of dollars of claims that will benefit from the Debtor’s

restructuring of his affairs for the purpose of satisfying his obligations. Indeed, chapter 11 of the

Bankruptcy Code provides the most appropriate forum to achieve a successful restructuring of

the Debtor’s financial affairs.

                 21.         Evidencing the Debtor’s good faith, since the commencement of the

Chapter 11 Case and the appointment of the Committee, the Debtor and his professionals have

actively discussed and commenced negotiations with the Committee, its professionals, and other

creditors concerning myriad issues affecting the restructuring of the Debtor’s obligations,



                                                 10
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO            Doc 112     Filed 12/05/19      Page 11 of 32




including the Plan and the treatment of creditors’ claims thereunder. For example, in response to

the Committee’s request for documents, the Debtor established and continues to populate a data

room containing documents requested by the Committee. The Debtor conducted an all-day

meeting at Faraday with Committee members, certain individual creditors, Committee and

Debtor professionals, and members of Faraday’s management in order to provide an overview of

Faraday’s business operations and financial condition and to discuss the Plan. The Debtor also

invited representatives of all creditors (nearly all of whom traveled from the People’s Republic

of China) to Faraday for a separate, full day of meetings that included comprehensive

presentations regarding Faraday’s business operations and financial condition and sessions

allowing creditors to ask questions and voice concerns regarding the Debtor’s proposed

restructuring. Thirty-five creditor representatives and two representatives of the Committee

participated in these meetings.

                 22.         Section 1112(b) of the Bankruptcy Code provides, in relevant part, that

“on request of a party in interest, and after notice and a hearing, the court shall convert a case

under this chapter to a case under chapter 7 or may dismiss a case under this chapter,

whichever is in the best interest of creditors and the estate, for cause ….” 11 U.S.C.

§ 1112(b)(1). Significantly, “[t]he statute provides for dismissal for cause, if it is in the best

interest of the creditors and the estate.” O f f i ci a l C o m m . V . N u c o r C o r p . (I n re SGL

Carbon Corp.), 200 F.3d 154, 159 (3d Cir. 1999). Courts have found that dismissal of a

bankruptcy petition for lack of good faith should be done “only sparingly and with great

caution.” See e.g., In re General. Growth, Props., 409 B.R. 43, 56 (Bankr. S.D.N.Y. 2009)


                                                 11
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19    Page 12 of 32




(citing Carolin Corp. v. Miller, 886 F.2d 693, 700 (4th Cir. 1989)); In re G.S. Distrib.,, 331

B.R. 552, 566 (Bankr. S.D.N.Y. 2005). Dismissal of a voluntary chapter 11 petition “is an

extraordinary remedy that requires careful examination of the facts on a case-by-case basis.” In

re 234-6 West 22nd St. Corp., 214 B.R. 751, 757 (Bankr. S.D.N.Y. 1997); see also In re Marion

Street Partnership, 108 B.R. 218, 223 (Bankr. D. Minn. 1989) (“Dismissal of a bankruptcy case

is the ultimate sanction; it should be used with caution.”). “In enacting chapter 11, Congress

determined that an otherwise eligible debtor is entitled to an opportunity to reorganize; the

Code’s policy is one of open access to the bankruptcy process.” In re Clinton Centrifuge, Inc.,

72 B.R. 900, 905 (Bankr. E.D. Pa. 1987).

                 23.         Although section 1112(b)(4) of the Bankruptcy Code sets forth a list of

examples that may constitute cause for dismissal, none is applicable here. Indeed, SLC does

not allege otherwise. Instead, SLC contends that the Debtor’s Chapter 11 Case should be

dismissed because it was not filed in “good faith.” In support, SLC asserts that “[i]nstead of

serving any legitimate bankruptcy purpose, the petition was ‘filed merely to obtain a tactical

litigation advantage.’” See Motion ¶¶ 34-37.

                 24.         The United States Court of Appeals for the Third Circuit has held that

“[c]hapter 11 bankruptcy petitions ‘ are subject to dismissal under 11 U.S.C. § 1112(b) unless

filed in [ good faith].’” Cross-Appellees in 09-1432 v. BEPCO, LP (In re 15375 Mem’l Corp.),

589 F.3d 605, 618 (3rd Cir. 2009) (quoting In re Integrated Telecom Express, Inc., 384 F.3d

108, 118 (3d Cir. 2004)). “Whether the good faith requirement has been satisfied is a ‘fact

intensive inquiry’ in which the court must examine ‘the totality of facts and circumstances’ and



                                                  12
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19    Page 13 of 32




determine where a ‘petition falls along the spectrum ranging from the clearly acceptable to the

patently abusive.’” Integrated Telecom Express, Inc., 384 F.3d at 118 (quoting SGL Carbon,

200 F.3d at 162). Courts in the Third Circuit generally “focus[ ] on two inquiries that are

particularly relevant to the question of good faith: (1) whether the petition serves a valid

bankruptcy purpose, e.g., by preserving a going concern or maximizing the value of the debtor’s

estate, and (2) whether the petition is filed merely to obtain a tactical litigation advantage.” Id.

at 119-20 (citing In re SGL Carbon, 200 F.3d at 165).

                 25.         Courts in the Third Circuit “consider various factors that indicate whether

the case has been filed for a legitimate reorganization purpose or only as a litigation tactic or for

some other improper purpose.” In re Jer/Jameson Mezz Borrower II, 461 B.R. 293, 299

(Bankr. D. Del. 2011). See also Primestone Inv. Parnters v. Vorando PS (In re Primestone Inv.

Partners), 272 B.R. 554, 557 (D. Del. 2002) (citing SGL Carbon, 200 F.3d at 165; Phoenix

Piccadilly, Ltd v. Life Ins. Co. (In re Phoenix Piccadilly, Ltd.), 849 F.2d 1393, 1394-95 (11th

Cir. 1988); In re SB Props., 185 B.R. 198, 205 (E.D. Pa. 1995)). “The focus of the inquiry is

whether the petitioner sought ‘to achieve objectives outside the legitimate scope of the

bankruptcy laws’ when filing for protection under Chapter 11.” Primestone, 272 B.R. at 557

(quoting In re SGL Carbon Corp., 200 F.3d at 165). “Therefore, no single factor is

determinative of a lack of good faith in filing a petition.” Id. at 558 (quoting In re Tiffany Sq.

Assoc., 104 B.R. 438, 441 (Bankr. M.D. Fla. 1989).

                 26.         As described above, section 1112(b) of the Bankruptcy Code requires that,

regardless of whether cause exists to dismiss a case (which cause is absent here here), a court



                                                  13
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19     Page 14 of 32




may only dismiss the case if doing so is in the best interests of creditors and the estate. See 11

U.S.C. § 1112(b). Similarly, section 305(a)(1) of the Bankruptcy Code grants courts the

authority to forgo the exercise of appropriate jurisdiction and dismiss or suspend proceedings in

a case if “the interests of creditors and the debtor would be better served by such dismissal or

suspension.” 11 U.S.C. § 305(a)(1). The moving party bears the burden to demonstrate that

dismissal or suspension benefits the debtor and its creditors. See RHTC Liq. Co. v. Union

Pac. R.R. (In re RHTC Liq. Co.), 424 B.R. 714, 720-721 (Bankr. W.D. Pa. 2010); In re

Monitor Single Lift I, Ltd., 381 B.R. 455, 462-63 (Bankr. S.D.N.Y. 2008). However, given that

dismissal or suspension under section 305(a)(1) of the Bankruptcy Code is an extraordinary

remedy with limited appellate review, courts sparingly exercise such power. See 11 U.S.C. §

305(c); In re Schur Mgmt. Co., 323 B.R. 123, 129 (Bankr. S.D.N.Y. 2005); In re Corino, 191

B.R. 283, 287 (Bankr. N.D.N.Y. 1995); In re Luftek, Inc., 6 B.R. 539, 548 (Bankr. E.D.N.Y.

1980) (“There is an inherent risk to our system of jurisprudence in any Act of Congress which

gives the court such broad powers to refuse jurisdiction over a case.”).

                 27.         The statutory language and the legislative history make clear that “the test

under § 305(a) is not whether dismissal would give rise to a substantial prejudice to the debtor.

Nor is the test whether a balancing process favors dismissal. Rather, the test is whether both the

debtor and the creditors would be ‘better served’ by a dismissal.” Eastman v. Eastman (In

re Eastman), 188 B.R. 621, 625 (BAP 9th Cir. 1995) (reversing order dismissing case

under section 305(a)(1) of Bankruptcy Code because lower court employed balancing test and

failed to determine that dismissal was in best interest of debtor as well as creditors). Given the



                                                  14
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO            Doc 112     Filed 12/05/19    Page 15 of 32




standard that must be met by a moving party under section 305(a) (1) of the Bankruptcy Code, it

is not surprising that few fact patterns fall within such section. Indeed, the “legislative

history indicates that the provision was designed to be utilized where, for example, a few

recalcitrant creditors attempted to interfere with an out-of-court restructuring that had the support

of a significant percentage of the debtor’s creditors.” In re Bd. of Dirs. of Multicanal S.A., 314

B.R. 486, 522 (Bankr. S.D.N.Y. 2004) (citing H.R. Rep. No. 595, 95th Cong., 1st Sess.

325 (1977); S. Rep. No. 95–989, 95th Cong., 2d Sess. 35 (1979)); In re Wine & Spirits

Specialties of Kansas City, Inc., 142 B.R. 345, 346-47 (Bankr. W.D. Mo. 1992)). In fact, some

courts have limited the application of section 305(a)(1) of the Bankruptcy Code to involuntary

cases. See Monitor Single Lift, 381 B.R. at 464 (noting that section 305(a) case law is

“dominated by cases concerning involuntary petitions filed by creditors”). Even if, however,

section 305(a)(1) of the Bankruptcy Code were to apply here, SLC still has failed to satisfy its

substantial burden of proving that the Debtor and his creditors’ interests would be better served

by the dismissal of the case.

                 28.         SLC fails to demonstrate that (a) the Debtor did not have a valid

bankruptcy purpose for commencing his Chapter 11 Case and (b) the Debtor filed his

bankruptcy case merely to obtain a tactical litigation advantage. Further, SLC has failed to

establish that dismissal of the case would benefit the Debtor and his creditor body. It is apparent

that SLC is only considering its own self-interest in disregard for the best interests of the other

creditors of the Debtor’s estate.

i.    The Debtor Had Valid Bankruptcy Purposes for Commencing His Chapter 11 Case



                                                 15
DOCS_LA:326345.6 46353/002
                 Case 19-12220-KBO          Doc 112      Filed 12/05/19       Page 16 of 32




                  29.        The Debtor had valid bankruptcy purposes for seeking to restructure

pursuant to chapter 11 of the Bankruptcy Code—the need to restructure his financial affairs to

provide for the repayment of creditor claims, which total in the billions, and to preserve the value

of his principal asset—Faraday’s business. Indeed, a cursory examination of the circumstances

surrounding the filing of the Chapter 11 Case, and the events that led up to the filing, dispel

any notion that the filing was made in bad faith. Rather, faced with over $3.5 billion in debt

and competing lawsuits from creditors in the U.S. and the PRC, the Debtor was left with no

viable alternative other than to seek a restructuring of his financial affairs under chapter 11 of the

Bankruptcy Code. Had the Chapter 11 Case not been filed, SLC or another party asserting a lien

on all of YT’s personal property assets could have seized control of some of his assets solely for

its benefit.13

ii.   SLC Fails to Prove That the Debtor Filed the Chapter 11 Case to Obtain a Litigation
      Advantage

                  30.        SLC contends that the Chapter 11 Case should be dismissed because the

Debtor filed the case for the primary purpose of obtaining a tactical litigation advantage. SLC,

however, offers no evidence to support this allegation.

                  31.        A chapter 11 case may be subject to dismissal if it was commenced

primarily or solely to obtain a tactical litigation advantage. Further, “[w]here ‘the timing of the

filing of a Chapter 11 petition is such that there can be no doubt that the primary, if not sole,

purpose of the filing was a litigation tactic, the petition may be dismissed as not being filed



13
  Shanghai Qichengyueming Investment Partnership also purported to serve a judgment debtor examination order
on the Debtor prior to the Petition Date.

                                                 16
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO               Doc 112       Filed 12/05/19         Page 17 of 32




in good faith.’” 15375 Mem’l Corp., 589 F.3d at 625 (quoting In re SGL Carbon Corp., 200

F.3d at 165).

                  32.        In support of its allegations, SLC merely points to the timing of the

bankruptcy filing in response to SLC’s aggressive enforcement actions and its frustration in

having to comply with the “automatic stay” provisions of the Bankruptcy Code to which all

creditors are subject as a matter of law.14

                  33.        SLC’s assertions that the Debtor was not in need of “breathing room” is

absurd in light of his enormous debt burden and SLC’s actions prior to the Petition Date to

impose a lien over the Debtor’s personal property assets. The Debtor faces billions of dollars in

personal obligations and enforcement actions; he needs to restructure his financial affairs to

provide for the repayment of creditor claims. Filing this Chapter 11 Case to fulfill these

legitimate purposes under the supervision of this Court was undertaken in good faith to benefit

all parties.

                  34.        Moreover, SLC’s allegations that the Debtor commenced this Chapter 11

Case to avoid disclosing information regarding his assets and liabilities are nonsense: The

chapter 11 bankruptcy process is predicated upon disclosure and transparency. The Debtor has

filed his Schedules under penalty of perjury, as well as a Plan, Disclosure Statement, and

Amended Disclosure Statement setting forth his financial information in detail. The Debtor has


14
  Contrary to the allegations in the Motion (¶¶ 36-37), the Debtor is not using the automatic stay as a “sword.”
Rather, the Debtor and his counsel have advised SLC as to the scope of the automatic stay and the consequences of a
willful violation of the stay provisions in connection with ongoing enforcement proceedings by SLC,
notwithstanding the commencement of the Chapter 11 Case. To the extent that SLC does not believe that the stay
applies or that relief from the automatic stay is appropriate, it is entitled to seek such a determination from this
Court. Invoking the breathing-spell provisions of the automatic stay, however, is not a prohibited “litigation tactic.”
This circumstance is wholly distinguishable from the “litigation tactic” cases cited by SLC in the Motion.

                                                     17
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO              Doc 112        Filed 12/05/19        Page 18 of 32




not in any way sought to use this proceeding as a means of hiding information from this Court or

creditors; any statement to the contrary is baseless.

                  35.        SLC is severely misguided in its characterization of the Debtor’s

motives behind filing the Chapter 11 Case, and its effort to paint this case as a “two-party”

dispute. This case involves billions of dollars of creditor claims—with SLC’s $11 million

judgment representing only a fraction of the total claim pool. The Debtor’s need to reorganize

his financial affairs to provide for the payment of creditor claims under the circumstances is

beyond question, and the Debtor’s negotiations with the Committee and creditors regarding the

terms of his Plan and the treatment of creditor claims thereunder is further evidence of the

Debtor’s good faith dealings with his creditors.

                  36.        For the reasons set forth above, SLC’s allegation that the Chapter 11 Case

was filed primarily as a litigation tactic is, frankly, frivolous. The Debtor had valid bankruptcy

purposes for commencing his case and the “totality of the circumstances” surrounding this case

categorically demonstrate that the Debtor should be permitted to avail himself of the benefits of

the Bankruptcy Code to restructure his financial affairs for the benefit of all his creditors.15




15
  SLC’s unfounded accusations regarding the Debtor’s chapter 11 filing being done for tactical litigation
purposes are ironic given that the Motion appears to have been filed for that very purpose. Indeed, as is evident
from its actions and arguments in the Motion, SLC seeks the dismissal of the Debtor’s case to further its own
interests and not those of other creditors. The Motion is a thinly disguised effort to do away with the provisions of
the automatic stay. If the Court were to dismiss the case and eliminate the Debtor’s protections and safeguards
provided by the Bankruptcy Code, SLC would be free to continue its enforcement actions against the Debtor’s U.S.
assets to the detriment of other creditors.

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DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112        Filed 12/05/19        Page 19 of 32



iii.   The Bankruptcy Case Is Appropriate to Resolve Creditors’ Claims Against the
       Debtor’s U.S. Assets

                 37.         In the Motion, SLC next asserts that the Chapter 11 Case should be

dismissed under sections 1112 and 305(a)(1) based on principles of “comity,” asserting that this

Court should be prohibited from exercising jurisdiction over foreign creditors’ claims against a

debtor’s U.S. assets and must, therefore, simply dismiss the U.S. bankruptcy proceeding.

Notably, SLC is unable to point to any authorities standing for such a sweeping proposition, and

the cases cited by SLC are fundamentally distinguishable from the situation presented here.

                 38.         The Chapter 11 Case is not intended to resolve creditors’ claims against

the Debtor’s non-U.S. (PRC) assets. Unless the Debtor and his creditors come to a different

arrangement, SLC and other creditors may pursue the Debtor’s non-U.S. (PRC) assets under

applicable law.16 The purpose of the Chapter 11 Case in this Court is to restructure the Debtor’s

U.S. holdings and to provide for the payment of creditors’ claims (wherever they are based) from

the Trust established pursuant to the Plan. The fact that the holders of claims against U.S. assets

are predominantly Chinese is of no import. There can be no dispute that this Debtor has valuable

U.S. assets, and that the existence of these assets establish his eligibility as a chapter 11 debtor

under Bankruptcy Code section 109.17

16
  The Debtor’s non-U.S. assets have been seized or frozen by Chinese courts and will be utilized to satisfy
creditors’ claims in accordance with the law of the PRC. The instant Chapter 11 Case deals solely with the Debtor’s
U.S. assets and repayment of creditors’ claims therefrom. The Debtor’s Plan will be amended to make clear that the
Plan’s release provisions will not impact PRC claims and assets.

17
  Section 109(a) of the Bankruptcy Code sets for the requirements for commencing a case under title 11 as follows:
(a) Notwithstanding any other provision of this section, only a person that resides or has a domicile, a place of
business, or property in the United states, or a municipality, may be a debtor under this title. 11 U.S.C. § 109(a).
See In re Northshore Mainland Servs., 537 B.R. 192, 200 (Bankr. D. Del. 2015) (“Courts construing the ‘property’
requirement of § 109 to foreign corporations [and] individuals have determined that the eligibility requirement is
satisfied by even a minimal amount of property located in the United States.”). Accord, GMAM Inv. Funds Trust I v.
Globo Comunicacoes e Participacoes S.A. (In re Globo Comunicacoes e Participacoes S.A.), 317 B.R. 235, 250
(S.D.N.Y. 2004) (to qualify as a debtor under section 109,” courts have required only nominal amounts of property

                                                    19
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO                Doc 112        Filed 12/05/19         Page 20 of 32




                  39.        Indeed, even assuming that the PRC had a bankruptcy scheme that would

provide the Debtor with an adequate means to address his financial difficulties—which, as

acknowledged by SLC, it does not—the Debtor would have needed to commence a separate

proceeding under chapter 15 of the Bankruptcy Code in order to address his U.S. assets.

Because there is not, and cannot be, a main proceeding in the PRC to which a chapter 15 case

relates, however, a chapter 11 filing to address the disposition of the Debtor’s U.S. assets is

necessary and proper. The principals of “comity” urged by SLC simply do not come into play

under these circumstances.18

                  40.        Indeed, the principals of comity urged by SLC are not applicable where

there is no comprehensive procedure for the orderly marshalling and equitable distribution of a

foreign debtor’s assets. See e.g., In re Suntech Power Holdings Co., 520 B.R. 399, 405-06, 419

(Bankr. S.D.N.Y. 2014) (citing to testimony that “China has different concepts of the rules of

law and creditors’ rights compared to those in the Cayman Islands and the United States; it is the

last place that one would go.”). The decisions cited in the Motion that address the principles of

“comity” uniformly do so in the context of competing insolvency regimes, including in the

context of recognition of a pending main foreign proceeding under chapter 15 of the Bankruptcy

Code—a situation not present here. See e.g., Northshore Mainland Servs, 537 B.R. at 207

(Bankr. D. Del. 2015) (dismissing the chapter 11 cases of several Bahamian entities subject to


to be located in the United States, and have noted that there is ‘virtually no formal barrier’ to having federal courts
adjudicate foreign debtors’ bankruptcy proceedings.”).

18
   See Motion ¶¶ 46-47. In this regard, SLC asserts as follows: “And the fact that Chinese law does not allow
individuals to file for bankruptcy is no reason to disregard comity principles here. Comity is not limited to
situations involving competing insolvency proceedings that afford the debtor relief identical to that available under
the U.S. Bankruptcy Code.” SLC’s notions of “comity,” however, go too far.

                                                      20
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19     Page 21 of 32




winding up proceedings in the Bahamas, but denying dismissal as to the Delaware incorporated

debtor that was not the subject of the foreign bankruptcy proceeding); In re Irish Bank

Resolution Corp. Ltd., 2014 Bankr. LEXIS 1990, **40-41(Bankr. D. Del. April 30, 2014), aff’d,

538 B.R. 692 (D. Del. 2015) (granting recognition under chapter 15 of a pending Irish

liquidation proceeding and finding no conflict with the Irish proceeding and the laws of the

United States); In re Maxwell Commun. Corp. PLC, 93 F.3d 1036 (2d Cir. 1996) (case involved

cooperative parallel bankruptcy proceedings in England and the United States; court found that

the doctrine of international comity precluded application of the American avoidance law to

transfers in which England’s interest had primacy).

                 41.         Further, the decisions cited by SLC cut against its argument for dismissal

because, in contrast to this case, all of them involve a parallel insolvency proceeding. See e.g.,

Northshore Mainland, 537 B.R. at 207-08 (“[t]he pendency of a foreign insolvency proceeding

alters the balance by introducing considerations of comity into the mix.”); Arcapita Bank v.

Bahrain Islamic Bank (In re Arcapita Bank),, 575 B.R. 229, 241 (Bankr. S.D.N.Y. 2017)

(international comity decisions primarily emphasize the doctrine’s bankruptcy significance in the

context of parallel insolvency proceedings; questioning dismissal of an adversary action based on

principals of comity where there is no parallel foreign proceeding, and hence no counterpart for

obtaining relief under foreign law).

                 42.         SLC’s argument boils down to the following: Because the PRC does not

provide insolvency protections for individuals, an individual debtor with U.S. assets is left

without options vis-à-vis the restructuring of his U.S. assets simply by virtue of the existence of



                                                  21
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112        Filed 12/05/19        Page 22 of 32




foreign creditors. This is not, and cannot be, the case.19 The Debtor is entitled to restructure his

U.S. holdings under the Bankruptcy Code and provide for the payment of the claims of his

creditors from such assets.

                 43.         There is no evidence that the Debtor is in any way using the chapter 11

restructuring process to avoid his obligations to or to alter the priorities of the claims against

him. Rather, the Debtor filed under chapter 11 of the Bankruptcy Code and proposed the

Plan as a means of satisfying the claims of his creditors. The Debtor fully intends to comply

with all applicable laws in seeking approval of the Plan.20

                 44.         SLC’s attempt to “cherry pick” language from the cases cited in the

Motion to support dismissal of the Debtor’s chapter 11 case is unavailing. These cases involve,

at their essence, attempts by foreign debtors to escape liabilities or alter creditor priorities—i.e.,

to use the U.S. bankruptcy laws to avoid or alter obligations to creditors in their home country.

This is, however, not the case here. The Debtor needs (and is entitled to) a forum in which to

restructure and address the repayment of creditor claims from his U.S assets.




19
   See, e.g., Frictionless World, LLC, No. 19-18459 (Bankr. D. Colo.); Tatung Company of America, Inc., No. 19-
21521 (Bankr. C.D. Cal.); Forever 21, Inc., No. 19-12122 (Bankr. D. Del.); GCX Limited, No. 19-12031 (Bankr. D.
Del.); Mad Dogg Athletics, Inc., No. 19-18730 (Bankr. C.D. Cal.); Hollander Sleep Products, LLC , No. 19-11608
(Bankr. S.D.N.Y); Payless Holdings LLC, No. 19-40883 (Bankr. E.D. Mo.); Gymboree Group, Inc., No. 19-30258
(Bankr. E.D. Va.); Nine West Holdings Inc., 18-10947 (Bankr. S.D.N.Y); Gymboree Corporation, No. 17-32986
(Bankr. E.D. Va.): Pacific Andes International Holdings (BVI) Limited, No. 17-11021 (Bankr. S.D.N.Y.); EMAS
Chiyoda Subsea Limited, No. 17-31146 (Bankr. S.D. Tex.); ValuePart, Incorporated, No. 16-34169 (Bankr. N.D.
Tex.); Pacific Andes International Holdings Limited (Bermuda), No. 16-11890 (Bankr. S.D.N.Y.); China Fishery
Group Limited Cayman, No. 16-11895 (Bankr S.D.N.Y.)(U.S. debtors with all or mostly foreign creditors on list of
creditors holding largest general unsecured claims).
20
   Moreover, contrary to SLC’s allegations, the Debtor will provide translations of the Plan and Disclosure
Statement in Chinese. The Debtor will take all reasonable steps to provide information to his creditors in a manner
designed to reduce confusion and will work with the Committee to implement appropriate processes and procedures
in this regard.

                                                   22
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO            Doc 112     Filed 12/05/19     Page 23 of 32




                 45.         For example, in Yukos Oil, the debtor had no assets in, connections to, or

business in the United States prior to commencing its chapter 11 case. See In re Yukos Oil

Co., 321 B.R. 396, 411 (Bankr. S.D. Tex. 2005). In addition, an officer of the company fled to

the United States to file for chapter 11 protection to prevent the Russian government from

nationalizing and selling off certain of the debtor’s substantial assets following litigation that the

company had lost and was appealing. Id. at 402. In essence, the bankruptcy filing was a

litigation tactic to avoid a government edict. As the Yukos Oil court found, Yukos was not

seeking a financial restructuring. Id. at 411. Moreover, the court determined that the debtor

commenced its chapter 11 case with the intent of avoiding obligations and altering creditor

priorities (i.e., its obligations to the government), which is not the case here. Here, the Debtor

owns assets and has property interests in the United States, thereby affording this Court in rem

jurisdiction over such assets and interests. There is a significant difference between the situation

described in Yukos Oil and this case. Here, the Debtor commenced his Chapter 11 Case to

restructure his financial affairs and intends to satisfy his obligations to his creditors from his U.S.

assets (and has already filed a Plan providing for the treatment of such claims).

                 46.         Similarly, In Spanish Cay Co., 161 B.R. 715, 726 (Bankr. S.D. Fla. 1993),

the court determined that it could not prevent Bahamian citizens and governmental agencies

from proceeding with their claims against the debtor’s assets in the Bahamas. In making its

determination, the court in Spanish Cay drew a distinction between its ability to exercise

jurisdiction over U.S. assets, and the situation it faced—where the foreign debtor sought to

restructure real property located in a foreign jurisdiction. Id. Accord, Globo Comunicacoes, 317



                                                 23
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19    Page 24 of 32




B.R. at 250, n.9 (bankruptcy courts have in rem jurisdiction over property of the estate wherever

located and by whomever held, but recognizing that that a bankruptcy court may face issues with

respect to jurisdiction and compliance with orders relative to non-U.S. assets). See also In re

Mak Petroleum, Inc., 424 B.R. 904, 905 (Bankr. M.D. Fla. 2010) (a bankruptcy proceeding will

not provide jurisdiction over a foreign party that has no contacts with the United States; court

dismissed action by chapter 7 trustee to recover a deposit made by the debtor to a Canadian

church that had no contacts with the United States). These decisions do not address a

circumstance where the debtor seeks bankruptcy protection to restructure his U.S. assets, as is

the case here. Moreover, the Debtor is not asking this Court to exercise in rem jurisdiction over

his assets located in the PRC which are subject to freeze orders from Chinese courts.

                 47.         Other decisions cited by SLC in the Motion simply stand for the relatively

noncontroversial proposition that a U.S. bankruptcy court will not relitigate the merits of a claim

that has been resolved in a foreign proceeding. See e.g., Fotochrome, Inc. v. Copal Co., 517

F.2d 512 (2d Cir. 1975) (holding that a foreign arbitral award was a valid determination on its

merits and the merits of the claim would not be reviewed by the bankruptcy court overseeing the

U.S. bankruptcy proceeding; Japanese claimant, following confirmation of foreign arbitral award

by judgment, was entitled to file a proof of claim against the debtor in the U.S. bankruptcy case).

See also Ackerman v. Levine, 788 F.2d 830 (2d Cir. 1986) (partially recognizing foreign

(German) default judgment); Hilton v. Guyot, 159 U.S. 113, 164 (1985) (addressing degree to

which a foreign judgment is conclusive in a court of the United States). These decisions provide

no basis whatsoever for this Court to decline to exercise jurisdiction over the Debtor’s Chapter



                                                  24
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112      Filed 12/05/19     Page 25 of 32




11 Case based on notions of “deference” or “comity,” especially where the PRC provides no

bankruptcy alternative for an individual debtor.

                 48.         Chapter 11 is a well-trodden path that has been used by countless debtors

that have assets in the United States to reorganize their financial affairs. Indeed, chapter 11

presents the best available forum for the Debtor to restructure his financial affairs. SLC has

failed to establish that considerations of comity provide any grounds for dismissal of the Chapter

11 Case.

iv.     SLC Has Failed to Establish That Dismissal of the Debtor’s Bankruptcy Case Is in
        the Best Interests of the Debtor and All Creditors

                 49.         SLC also has failed to substantiate its contention that a dismissal of the

Debtor’s bankruptcy case is in the best interests of all creditors. Instead, if the Chapter 11 Case

were dismissed, there would be no alternative available to the Debtor to restructure his U.S.

assets and provide for the treatment of creditors’ claims as contemplated by the Plan. Although

this “free-for-all” alternative may well provide a benefit to SLC, because SLC would seek to

enforce its lien, it would significantly impact the value of the Debtor’s assets and would thus

provide no guarantee that general unsecured creditors would be paid anything at all. See

Transcript of Hearing at 15, In re Scrub Island Dev. Grp. Ltd., Case No. 8:12-bk-15285 (MGW)

(Bankr. M.D. Fla. Dec. 6, 2013) (refusing to dismiss chapter 11 cases in favor of foreign

liquidation proceeding and finding that such proceeding “would be directly contrary to the

interests of the [d]ebtor[s] and every creditor in th[e] case, other than [the debtors’ major secured

creditor]”). In light of the foregoing, it is obvious that SLC is only considering its own self-

interests in complete disregard of the best interests of the other creditors of the Debtor’s estate.


                                                   25
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112      Filed 12/05/19     Page 26 of 32




                 50.         Further, dismissal would result in the disbandment of the Committee,

thereby removing the one entity specifically tasked with safeguarding the interests of the

Debtor’s general unsecured creditors. As a result, individual general unsecured creditors would

no longer have the benefit of the Committee’s ability to investigate claims against and interests

in the Debtor’s property and assets and to negotiate with the Debtor with respect to the terms of

the Plan on their behalf.

                 51.         The Debtor and all his other creditors are clearly better off with this Court

overseeing the restructuring of his U.S. assets. To this end, the Debtor seeks implementation of

the Plan to provide for a fair and predictable mechanism for satisfying the claims of his creditors

and maximizing the value of his assets. Based on SLC’s inability to demonstrate that dismissal

of the Debtor’s Chapter 11 Case is in the best interests of the Debtor and all of the Debtor’s

creditors, SLC fails to satisfy the requirements of sections 1112(b) and 305(a)(1) of the

Bankruptcy Code.

D.      The Debtor’s Choice of Forum in Delaware Is Entitled to Substantial Weight
        and Should Not Be Disturbed

                 52.         SLC’s final argument is that, if the Chapter 11 Case is not dismissed, this

Court should transfer venue of the case to a bankruptcy court in California.

                 53.         Given that venue in this Court is legally proper, the Debtor’s choice of this

forum is entitled to great weight. See e.g., In re Restaurants Acquisition I, LLC, 2016 Bankr.

LEXIS 684, at *7 (Bankr. D. Del. Mar. 4, 2016) (“movant bears the burden of demonstrating that

the factors strongly weigh in favor of a transfer as courts will generally grant substantial

deference to a debtor’s choice of forum”); In re Ocean Properties of Delaware, Inc., 95 B.R.


                                                   26
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112      Filed 12/05/19   Page 27 of 32




304, 305 (Bankr. D. Del. 1988) (same). Therefore, a court considering a venue-transfer motion

“should exercise its power to transfer cautiously, and the party moving for the transfer must

show by a preponderance of the evidence that the case should be transferred.” CORCO, 596

F.2d at 1241 (citations omitted); accord, In re Fairfield Puerto Rico, Inc., 333 F. Supp. 1187,

1989 (D. Del. 1971) (“This Court should not freely abandon to any other district its duty to

determine a matter clearly within its jurisdiction.”); In re Rehoboth Hospitality, LP, 2011 2011

Bankr LEXIS 3992, at *10 (Bankr. D. Del. 2011) (“The burden of proof is on the moving party

requesting transfer.”). “A party seeking to have a case transferred pursuant to 1412, must

‘overcome the presumption that the debtor is entitled to file and maintain his case in the venue in

which he filed it.’” Acor, 510 B.R. at 592 (quoting In re Ginco, Inc., 70 B.R. 2, 4 (Bankr.

D.N.M. 1986).

                 54.         Given the strong presumption that a debtor’s choice of forum should not

be disturbed, courts rarely grant such relief.

i.    Convenience of the Parties Weighs in Favor of Retaining Venue in Delaware

                 55.         When a bankruptcy court is asked to transfer an entire bankruptcy case to

another bankruptcy court, it must examine whether the transfer would be (a) in the interest of

justice, or (b) the convenience of the parties. 28 U.S.C. § 1412. In considering the “convenience

of the parties,” courts have identified six factors, among others, to help guide their discretion.

These six factors are:

                              a.    the economic administration of the estate;

                              b.    the location of the assets;



                                                  27
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO              Doc 112    Filed 12/05/19     Page 28 of 32




                              c.    the proximity of creditors of every kind to the court;

                              d.    the proximity of the debtor to the court;

                              e.    the proximity of the witnesses necessary to the administration of

                                    the estate; and

                              f.    the necessity for ancillary administration if liquidation should

                                    result.

See, e.g., CORCO, 596 F.2d at 1247; Restaurants Acquisition, 2016 Bankr. LEXIS 684, at *7

(applying CORCO factors); Innovative, 358 B.R. at 125 (citing CORCO factors and other private

and public interests that may be relevant). SLC has failed to meet its “heavy burden of proof . . .

to demonstrate that the balance of convenience weighs in [its] favor.” Lionel Leisure, Inc. v.

Trans Cleveland Warehouses, Inc. (In re Lionel Corp.), 24 B.R. 141, 142 (Bankr. S.D.N.Y.

1982).

                 56.         Importantly, “if transfer of venue would merely shift the inconvenience

from one party to another, the debtor’s chose of forum should not be disturbed.” See Suntech

Power, 520 B.R. at 420. Consequently, SLC’s request to transfer venue of the Debtor’s

bankruptcy case should be denied.

         a) The Economic Administration of the Estate and the Proximity of Creditors


                 57.         The economic and efficient administration of the estate is the most

important factor when considering a motion to transfer venue. CORCO, 596 F.2d at 1247; In re

Caesars Ent. Op. Co., 2015 Bankr. LEXIS 314, at *22 (Bankr. D. Del. Feb. 2, 2015); In re

Industrial Pollution Control, Inc., 137 B.R. 176, 182 (Bankr. W.D. Pa. 1992). Despite the

                                                  28
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19     Page 29 of 32




importance of this factor, SLC makes little effort to explain why the economic administration of

the estate would be improved if this case were transferred, other than to argue that the key

players are either located in California or China and that the estate should not bear the cost of the

Debtor and his professionals traveling to Delaware.

                 58.         In support, SLC points to the location of the Debtor’s creditors and the

professionals, and the relative amount of time that it takes to travel to this Court as compared to

California. This analysis is misguided and irrelevant. The Debtor does not have thousands of

small or unsophisticated creditors that cannot navigate their way to Delaware. The amounts at

stake total billions of dollars. The creditors and professionals involved in this case will travel

wherever necessary in order to advocate their respective positions, and Delaware is certainly just

as convenient as California: The robust participation of creditors at the Committee formation

meeting in Delaware is a testament to the ability of the creditor body to be actively involved in

the Chapter 11 Case in its present venue. See Caesars, 2015 Bankr. LEXIS 314, at *23 (“in this

day of law firms with multiple offices across the nation, convenient and accessible airports,

electronic access to information and court dockets at every lawyer’s fingertips, it is fair to say

that both this [Delaware Bankruptcy] Court and the Illinois Court are convenient forums for

purposes of the CORCO analysis.”).

                 59.         In a case of this size and complexity, involving sophisticated and well-

represented creditors, there is no reason to transfer venue to a bankruptcy court in California on

the basis of the either economic administration of the estate or proximity of creditors.




                                                  29
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO              Doc 112     Filed 12/05/19      Page 30 of 32



        b) Location of the Assets


                 60.         The Debtor’s principal assets in the United States consist of his interests in

two Delaware LLCs. Accordingly, this factor weighs in favor of the Debtor’s selection of

Delaware as appropriate venue for his Chapter 11 Case.

        c) Proximity of the Debtor and Witnesses Necessary to the Administration of the
           Estate


                 61.         As discussed in CORCO, the Court’s consideration of the location of the

Debtor should focus on the proximity to the Court chosen by the Debtor and his representatives

who must appear in court. CORCO, 596 F.2d at 1248; see also Restaurants Acquisition, 2016

Bankr. LEXIS 684, at *11 (“Courts have noted the inquiry should focus primarily on the location

of parties that must appear in court.”).

                 62.         Because the Debtor has selected Delaware as the appropriate forum for his

Chapter 11 Case and he is willing and able to appear in this Court as and when necessary, this

factor does not weigh in favor of a venue transfer to a California bankruptcy court. Indeed,

virtually all other parties who may appear in this Court in connection with the Chapter 11 Case

are located in China, not California. The Debtor’s choice of Delaware should stand.

        d) Necessity for Ancillary Administration If Liquidation Should Result


                 63.         The final factor relates to the necessity for ancillary administration if

liquidation should result. As the courts in CORCO, Enron and Fairfield Puerto Rico recognized,

“anticipation of the failure of the [Chapter 11] proceeding is an illogical basis upon which to

predicate a transfer.” CORCO, 596 F.2d at 1248; In re Enron Corp, 274 B.R. 327, 349 (Bankr.



                                                   30
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19      Page 31 of 32




S.D.N.Y. 2002); Fairfield Puerto Rico, 333 F. Supp. at 1191. Indeed, “[t]his factor is often

discounted by courts.” Enron, 274 B.R. at 343, n.11. The Debtor’s focus in this case is to move

expeditiously to confirm the Plan that will maximize value for all constituents, and SLC offers

no factual basis for this Court to contemplate the failure of the Debtor’s Chapter 11 Case. See

Fairfield Puerto Rico, 333 F. Supp. at 1191. SLC offers no reasons why ancillary administration

of the case would be more favorable in California when the Debtor’s principal assets are

Delaware LLCs and governed by Delaware law. Accordingly, this factor does not favor transfer

of venue.

ii.   Interest of Justice Is Not Served by Transferring Venue

                 64.         In determining whether a transfer would be “in the interest of justice,” the

Court should consider “whether transfer of venue will promote the efficient administration of the

estate, judicial economy, timeliness, and fairness.” Enron, 274 B.R. at 387. These factors have

generally been discussed above and support keeping this case in Delaware. Additional concerns

that would speak to the “interest of justice” include the importance of a debtor to the welfare and

economic stability of a jurisdiction; they are not relevant here. See CORCO, 596 F.2d at 1248

(even though the importance of the debtor, a major supplier of petroleum to Puerto Rico, to the

welfare and economic stability of Puerto Rico implicated “interest of justice” considerations, the

court determined not to transfer venue to Puerto Rico).

                 65.         As noted above, venue is legally proper in this Court and the Debtor is

entitled to substantial deference as to his choice of forum. But even if the Court considered the




                                                  31
DOCS_LA:326345.6 46353/002
               Case 19-12220-KBO             Doc 112     Filed 12/05/19     Page 32 of 32




interests of justice and the convenience of the parties, there is no legitimate basis to transfer this

case to California.

                 66.         For all these reasons, the Debtor urges this Court to maintain venue of this

Chapter 11 Case in Delaware.

                                                  Conclusion


                 WHEREFORE, the Debtor respectfully requests that the Court enter its order (a)

denying the Motion; and (b) granting the Debtor such other and further relief as is just and

proper.

Dated: December 5, 2019                             PACHULSKI STANG ZIEHL & JONES LLP
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                                                  32
DOCS_LA:326345.6 46353/002
